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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                             CORPUS CHRISTI DIVISION


MARC VEASEY, JANE HAMILTON,                     §
SERGIO DeLEON, FLOYD J. CARRIER,                §
ANNA BURNS, MICHAEL MONTEZ,                     §
PENNY POPE and OSCAR ORTIZ                      §
                                                §            Case No.
        Plaintiffs,                             §
                                                §
v.                                              §
                                                §
RICK PERRY in his Official Capacity as          §
Governor of Texas; and JOHN STEEN in            §
his Official Capacity as Texas Secretary of     §
State,                                          §
                                                §
     Defendants.                                §

                       PLAINTIFFS’ ORIGINAL COMPLAINT

        NOW COMES Marc Veasey, Jane Hamilton, Sergio DeLeon, Floyd J. Carrier,

Anna Burns, Michael Montez, Penny Pope, and Oscar Ortiz (collectively “Plaintiffs”)

and files this Original Complaint complaining of Defendants, RICK PERRY, in his

capacity as Governor of Texas and JOHN STEEN, in his capacity as Texas Secretary of

State (hereinafter referred to as “Defendants”), and in support thereof would show the

Court as follows:




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                                         I. FACTS

1.       In 2011, the Texas Legislature enacted Senate Bill 14 (“SB 14”), which

established a photo identification requirement for in-person voting. SB 14 is one of the

most stringent, if not most stringent, in the country.

2.       Subject to three narrow exceptions, SB 14 would preclude citizens from voting in

person at the polls (on Election Day or during the State’s early voting period) unless the

voter presents one of six strictly limited forms of government-issued photo identification.

3.       Furthermore, for a substantial subset of the hundreds of thousands of registered

voters who do not currently have the required identification, SB 14 would create

significant practical impediments to obtaining the necessary identification.

4.       SB 14 thus would have the effect of denying thousands of Texas voters the ability

to vote in person, a large number of whom would be disfranchised entirely since absentee

voting in Texas is available only to certain specified categories of voters.

5.       On January 24, 2012, the State of Texas filed suit against the United States

Attorney General, in the United States District Court for the District of Columbia,

seeking preclearance of S.B. 14 under Section 5 of the Voting Rights Act, 42 U.S.C. §

1973c.

6.       A three-judge court was properly empaneled.

7.       After an extensive trial on the merits, in which many of these same Plaintiffs

participated, the three-judge court held that “in this particular litigation and on this


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particular record, Texas has failed to demonstrate that its particular voter ID law lacks

retrogressive effect.” See Exhibit A (August 30, 2012 opinion denying preclearance).

8.     The D.C. three-judge district court reached this conclusion for two reasons, each

of which independently supported the D.C. court’s judgment. First, the court found that

“all of Texas’s evidence on retrogression is some combination of invalid, irrelevant, and

unreliable,” and therefore “Texas has failed to carry its burden” of demonstrating the

absence of a retrogressive effect.

9.     Second, the court found that the evidence submitted by the United States and

intervenors affirmatively “suggests that SB 14, if implemented, would in fact have a

retrogressive effect on Hispanic and African American voters.”

10.    In this regard, the Court explained that the Texas law “imposes strict, unforgiving

burdens on the poor, and racial minorities in Texas are disproportionately likely to live in

poverty.”

11.    Given these twin holdings, the court concluded that there was no need to decide

whether SB 14 also has a discriminatory purpose, in violation of Section 5.

12.    The district court emphasized, however, that the record showed that the Texas

Legislature had “[i]gnor[ed] warnings that SB 14, as written, would disenfranchise

minorities and the poor,” and “defeated several amendments” which would have

substantially mitigated the retrogressive effect of the new identification requirement.




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13.    Each of the factual findings made by the D.C. court are accurate and well

supported by the evidence.

14.    Indeed, the enactment of SB 14 was made with the purpose and intent to

discriminate against racial and language minorities.

15.    On June 25, 2013, the Supreme Court issued its opinion in Shelby County v.

Holder, ___ S. Ct. ___, No. 12-96, 2013 WL 3184629 (2013) declaring Section 4 of the

Voting Rights Act, the coverage formula for Section 5 of the Act, unconstitutional.

16.    At this time, the injunction issued by the D.C. court preventing the implementation

of SB 14 remains in effect.

17.    The opinion of the D.C. court remains in all manners effective and Plaintiffs will

continue to argue such position to that Court.

18.    Even if the opinion were not effective, the factual findings in the opinion cannot

be contested by the Defendants under the doctrine of collateral estoppel.

19.    Despite this, the Texas Attorney General Greg Abbott declared on June 25, 2013,

shortly after the ruling in Shelby County that, “With today’s decision, the State’s voter ID

law will take effect immediately.”

20.    Press reports indicate that the state, despite the D.C. Court’s injunction that

remains in place, has already begun to implement SB 14.

21.    Presumably, the state’s chief legal officer erroneously contends the D.C. Court’s

injunction is now inoperative in light of the Shelby County decision.


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22.        Defendants intend to move forward with implementation of SB 14 despite having

been made aware of the substantial testimony and evidence presented to the D.C. court

concerning SB 14’s discriminatory purpose and effect.

23.        Defendants intend to move forward with implementation of SB 14 despite having

available to it the opinion of the three-judge court in D.C. that serves as notice, as if such

was needed, that SB 14 has discriminatory purpose and effect.

24.        Defendants renewed efforts to implement SB 14 after Shelby County are additional

acts of intentional discrimination given what the Defendants have learned in the earlier

trial and what the Defendants have notice of by virtue of the D.C. Court’s opinion.

25.        Though Plaintiffs will continue to press the applicability and effect of the D.C.

court opinion, Plaintiffs hereby bring these additional claims against Defendants in this

Court and would show that SB 14 is discriminatory in both intent and effect.

26.        Under entirely separate and plainly constitutional laws that remain in effect,

Plaintiffs are entitled to an injunction prohibiting the enforcement of SB 14 as currently

enacted.1

                                                              II.

                                         JURISDICTION AND VENUE

27.        This Court has jurisdiction pursuant to 28 U.S.C. §§ 1331, 1343, 1357, and 2284;

and pursuant to 42 U.S.C. §§ 1973, 1973j(f). Plaintiffs’ action for declaratory and


1
    Pursuant local rules, Plaintiffs will file a separate Motion for Injunctive relief at the appropriate time.

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injunctive relief is authorized by 28 U.S.C. §§ 2201, 2202, and 2284, as well as by Rules

57 and 65 of the Federal Rules of Civil Procedure. Venue is proper pursuant to 28 U.S.C.

§§ 1391(b).



                                      III.   PARTIES

                                        PLAINTIFFS

28.    Plaintiffs are all citizens and residents of Texas.

29.    Plaintiffs are all eligible and registered to vote in Texas and they have voted in

Texas in the past.

30.    Each Plaintiff has suffered from the effects of state and/or local government

imposed discrimination in voting and they continue to suffer from those effects.

31.    Plaintiff Marc Veasey is an elected African-American Congressman from Ft.

Worth, Tarrant County, Texas, although he brings this suit in his individual capacity.

Enforcement of SB 14 will cause Plaintiff Veasey to suffer additional costs in running his

re-election campaign and will make it more difficult for him to persuade and turn out

voters to support his candidacy and the candidacies of other candidates whom he supports

or aligns.

32.    Plaintiff Floyd James Carrier resides in China, Jefferson County, Texas. Plaintiff

Carrier is African-American and is physically disabled (wheel-chair bound). Plaintiff

Carrier is a former Army solider and despite his long military service, lacks an eligible


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photo identification and would therefore be unable to vote, as he typically has, under SB

14.

33.    Plaintiff Anna Burns resides in Ft. Worth, Tarrant County, Texas. Plaintiff Burns

is Latino. Plaintiff Burn does possess a driver’s license but, despite her efforts, the full

name on her driver’s license does not match the full name on her voter registration

certificate.

34.    Plaintiff Michael Montez is an elected Latino Constable in Galveston, Galveston

County, Texas, although he seeks to intervene in his individual capacity. Enforcement of

SB 14 will cause Plaintiff Montez to suffer additional costs in running his re-election

campaign and will make it more difficult for him to persuade and turn out voters to

support his candidacy and the candidacies of other candidates whom he supports or

aligns. Given recent events in Galveston County including a devastating Hurricane,

many minority voters in that region of Texas are likely to lose their right to vote under

the photo identification law proposed.

35.    Plaintiff Penny Pope is an elected African-American Justice of the Peace in

Galveston, Galveston County, Texas, although she seeks to intervene in her individual

capacity. Enforcement of SB 14 will cause Plaintiff Pope to suffer additional costs in

running her re-election campaign and will make it more difficult for her to persuade and

turn out voters to support her candidacy and the candidacies of other candidates whom

she supports or aligns. Given recent events in Galveston County including a devastating


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Hurricane, many minority voters in that region of Texas are likely to lose their right to

vote under the photo identification law proposed.

36.       Plaintiff Jane Hamilton is an African-American resident of Dallas, Dallas County,

Texas. Plaintiff Hamilton has and continues to politically organize her community and

turn out voters in elections. Implementation of SB 14 would harm Plaintiffs Hamilton’s

ability to adequately turn out citizens candidates she supports and therefore harm Plaintiff

Hamilton’s constitutional rights.

37.       Plaintiff Sergio DeLeon is an elected Latino Justice of the Peace in Fort Worth,

Tarrant County, Texas, although he seeks to intervene in his individual capacity.

Enforcement of SB 14 will cause Plaintiff DeLeon to suffer additional costs in running

his re-election campaign and will make it more difficult for him to persuade and turn out

voters to support his candidacy and the candidacies of other candidates whom he supports

or aligns.

38.       Plaintiff Oscar Ortiz is an elected County Commissioner in Corpus Christi, Nueces

County, Texas although he seeks to intervene in his individual capacity. Enforcement of

SB 14 will cause Plaintiff DeLeon to suffer additional costs in running his re-election

campaign and will make it more difficult for him to persuade and turn out voters to

support his candidacy and the candidacies of other candidates whom he supports or

aligns.




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39.    Plaintiffs have a direct, substantial and legally protectable interest in the subject

matter of this litigation.

40.    Plaintiffs Carrier and Burns will be unlawfully denied the fundamental right to

vote if Plaintiffs do not prevail in this case.

41.    The remaining Plaintiffs hail from and represent minority communities in Texas

where a large number of citizens and eligible voters reside.

42.    These would-be voters lack the means and/or opportunity to obtain photo

identification and therefore, if this suit is not successful, will be prohibited by their state

government from voting in federal and state elections.

43.    African-Americans and Latinos represented by these Plaintiffs are more likely

than Anglos to lack the photo identification required under the subject law.

44.    SB 14, as a three-judge D.C. court has already found, would have devastating

discriminatory effects and was adopted with a racially discriminatory intent.

45.    SB 14 was passed at the same time and with the same intent as state-wide

redistricting maps that have been found in violation of federal voting laws by two

separate three-judge courts.

46.    The same Legislature passed SB 14 that passed redistricting plans found to be

intentionally discriminatory and in violation of multiple federal laws that protect against

discrimination in voting.




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                                        DEFENDANTS

47.    Defendant Rick Perry is the Governor of Texas and pursuant Article IV, Section I

to the Texas Constitution is the chief executive officer of the State of Texas.

48.    Defendant John Steen is the Secretary of State of Texas and is the state’s chief

election officer.

                                        IV. CLAIMS

                                           Count 1

49.    Plaintiffs reallege the facts set forth above.

50.    SB 14 violates Section 2 of the Voting Rights Act, 42 U.S.C. § 1973, in that, under

the totality of the circumstances, Plaintiffs and minority voters are denied an equal

opportunity to participate effectively in the political process. Also, SB 14 deny or

abridge Plaintiffs’ the right to vote on account of race or color, or membership in a

language minority group.


                                           Count 2


51.    Plaintiffs reallege the facts set forth above.

52.    SB 14 violates the Equal Protection Clause of the Fourteenth Amendment to the

United States Constitution because it intentionally discriminates against Latino and

African-American persons by denying Plaintiffs and these voters an equal opportunity to

participate in the political process.



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                                           Count 3


53.    Plaintiffs reallege the facts set forth above.

54.    SB 14 violates the First Amendment to the United States Constitution because its

requirements inhibit Plaintiffs and the minority citizens they represent, from exercising

their rights of free speech and expression and meaningful political association.

                                             V.


                                 PRAYER FOR RELIEF


       WHEREFORE, Plaintiffs respectfully pray that this Court:


55.    Assume jurisdiction of this action.

56.    Issue a declaratory judgment, pursuant to 28 U.S.C. §§ 2201 and 2202 and Federal

Rules of Civil Procedure Rule 57, declaring that SB 14: (1) dilutes and/or prevents the

voting strength of minority voters in violation of Section 2 of the Voting Rights Act of

1965, as amended, 42 U.S.C. § 1973; (2) is an unconstitutional election law in violation

of the First and Fourteenth Amendments to the United States Constitution; and (3) cannot

be administered by Defendants until such defects are repaired.

57.    Issue preliminary and permanent injunctions enjoining the Defendants, their

agents, employees, and those persons acting in concert with them, from enforcing or

giving any effect to the requirements of SB 14, including enjoining Defendants from

conducting any elections utilizing SB 14.


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58.    Make all further orders as are just, necessary, and proper to ensure complete

fulfillment of this Court’s Declaratory and injunctive orders in this case.

59.    Issue an order requiring Defendants to pay Plaintiffs’ costs, expenses and

reasonable attorneys’ fees incurred in the prosecution of this action, as authorized by the

Civil Rights Attorneys’ Fees Awards Act of 1976, 42 U.S.C. §§ 1973 & 1988.

60.    Grant such other and further relief as it seems is proper and just.


       This the 26th day of June, 2013.

                                           Respectfully Submitted,


                                           BRAZIL & DUNN

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